Case 3:23-cv-02071-E         Document 44        Filed 03/21/25     Page 1 of 5      PageID 14183



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

HUNTER MOUNTAIN INVESTMENT                            §
TRUST, et al.                                         §
                                                      §
        Appellant,                                    §
                                                      §      Civil Action No. 3:23-CV-02834-E
v.                                                    §
                                                      §
HIGHLAND CAPITAL MANAGEMENT,                          §
L.P., et al.                                          §
                                                      §
        Appellees                                     §

                                              ORDER

        Before the Court is Appellant Hunter Mountain Investment Trusts’ appeal of bankruptcy

court orders related to the denial of the Emergency Motion for Leave to File Verified Adversary

Proceeding. The Appellee parties, consisting of the Purchaser-Appellees and the Highland-

Appellees, move to dismiss the appeal, arguing that Appellant lacks standing. After this appeal

was filed, the Fifth Circuit issued its opinion in Matter of Highland Cap. Mgmt., L.P., (hereinafter

“Highland II”) which instructs the bankruptcy court to amend the contents of the Gatekeeper

Provision—the provision this appeal is premised upon. No. 23-10534, 2025 WL 841189 (5th Cir.

Mar. 18, 2025) Accordingly, this Court sua sponte REMANDS this appeal to the bankruptcy court

for review in light of the Fifth Circuit’s opinion.

                                         I.      BACKGROUND

     This bankruptcy appeal is part of the ongoing Chapter 11 bankruptcy case of Highland Capital

Management, L.P. (ECF No. 1-1 at 7). The instant appeal arises from the bankruptcy court’s denial

of the Emergency Motion for Leave to File Verified Adversary Proceeding, (hereinafter the

“Motion”), filed by Appellant Hunter Management Investment Trust, (hereinafter “HMIT”), a



MEMORANDUM OPINION AND ORDER                                                            Page 1 of 5
Case 3:23-cv-02071-E          Document 44       Filed 03/21/25       Page 2 of 5      PageID 14184



former equity owner of Highland Capital Management, L.P. (ECF No. 1-1 at 7). Highland’s

reorganization plan, (hereinafter, the “Plan”), was confirmed by the bankruptcy court in 2021 and,

as such, the Motion was filed as a post-confirmation dispute (ECF No. 1-1 at 7). The 2021 Plan

included a Gatekeeper Provision, prohibiting enjoined parties from taking specific actions against

protected parties, stating:

                [N]o Enjoined Party may commence or pursue a claim or cause of
                action of any kind against any Protected Party that arose or arises
                from or is related to the Chapter 11 Case, the negotiation of the Plan,
                the administration of the Plan or property to be distributed under the
                Plan, the wind down of the business of the Debtor or Reorganized
                Debtor, the administration of the Claimant Trust or the Litigation
                Sub-Trust, or the transactions in furtherance of the foregoing with
                the Bankruptcy Court (i) first determining, after notice and a
                hearing, that such claim or cause of action represents a colorable
                claim of any kind, including, but not limited to, negligence, bad
                faith, criminal misconduct, willful misconduct, fraud, or gross
                negligence against a Protected Party and (ii) specifically authorizing
                such Enjoined Party to bring such claim or cause of action against
                any such Protected Party[.]

Highland II, 2025 WL 841189 at *2. Thus, pursuant to the above Gatekeeper Provision, HMIT

sought leave from the bankruptcy court before filing their adversary proceeding. After motion

briefing and a hearing, the bankruptcy court denied HMIT’s Motion for three independent reasons:

                 (1) HMIT would lack constitutional standing to bring the Proposed
                Claims (and, thus, the federal courts would lack subject matter
                jurisdiction over the Proposed Claims); (2) even if HMIT would
                have constitutional standing to pursue the Proposed Claims, it would
                lack prudential standing to bring the Proposed Claims; and (3) even
                if HMIT would have both constitutional standing and prudential
                standing to bring the Proposed Claims, it has not met its burden
                under the Gatekeeper Colorability Test of showing that the proposed
                claims are “colorable claims”—that the Proposed Claims are not
                without foundation, not without merit, and not being pursued for an
                improper purpose.

(ECF No. 1-1 at 109). Appellant HMIT timely appealed. (ECF No. 1). Briefing was completed by

the parties and a notice of supplemental authority was filed. (ECF Nos. 29; 34; 35; 38; 39).

MEMORANDUM OPINION AND ORDER                                                              Page 2 of 5
Case 3:23-cv-02071-E           Document 44    Filed 03/21/25       Page 3 of 5     PageID 14185



Subsequently, on March 18, 2025, the Fifth Circuit issued its opinion addressing the underlying

Gatekeeper Provision relevant to this case. See generally Matter of Highland Cap. Mgmt., L.P.,

2025 WL 841189.

                         II.      INTERVENING FIFTH CIRCUIT AUTHORITY

        The March 18, 2025, opinion, Highland II, is the second direct appeal to the Fifth Circuit

Court of Appeals regarding the Plan’s Exculpation and Gatekeeping Clauses. Matter of Highland

Cap. Mgmt., L.P., 2025 WL 841189. In the first case, Matter of Highland Cap. Mgmt., L.P.,

(hereinafter “Highland I”), several parties associated with James Dondero, the former co-founder

of Highland Capital Management, as well as the United States Trustee, objected to the Plan as put

forth by the unsecured creditors’ committee and the independent directors on the grounds that,

amongst other things, the provisions constituted an impermissible nonconsensual release of non-

debtors’ claims against other non-debtors. 48 F.4th 415, 427-429 (5th Cir. 2022). In Highland I,

the Fifth Circuit reversed the bankruptcy court “only insofar as the plan exculpates certain non-

debtors in violation of 11 U.S.C. § 524(e), str[uck] those few parties from the plan’s exculpation,

and affirm[ed] on all remaining grounds.” Matter of Highland Cap. Mgmt., L.P., 2025 WL 841189

at 3. Following Highland I, the bankruptcy court amended only the definition of the term

“Exculpated Parties” in the Exculpation Clause but declined to change the definition of “Protected

Parties” used in the Gatekeeper Clause. Matter of Highland Cap. Mgmt., L.P., 2025 WL 841189

at 3.

        The Highland II appeal followed with Appellants arguing that the bankruptcy court erred

in failing to narrow the definition of “Protected Parties” used in the Gatekeeper Clause to mirror

its narrowing of the “Exculpated Parties” in the Exculpation Clause. Matter of Higland Cap.

Mgmt., L.P., 2025 WL 841189 at 4. In its March 28, 2025, opinion, the Fifth Circuit held that the



MEMORANDUM OPINION AND ORDER                                                           Page 3 of 5
Case 3:23-cv-02071-E        Document 44        Filed 03/21/25       Page 4 of 5     PageID 14186



Gatekeeper Clause included in the Plan had not been properly amended by the bankruptcy court

and, as such, remanded the case. Matter of Highland Cap. Mgmt., L.P., 2025 WL 841189 at 4.

Specifically, the Fifth Circuit instructed the bankruptcy court as follows,

                As it must, Highland I obeys these bedrock principles concerning
               bankruptcy courts' power to protect non-debtors. Consequently, the
               proper reading of Highland I is to require the bankruptcy court to
               narrow the definition of “Protected Parties” used in the Gatekeeper
               Clause coextensively with the definition of “Exculpated Parties”
               used in the Exculpation Provision, to read simply: “collectively, (i)
               the Debtor; (ii) the Independent Directors, for conduct within the
               scope of their duties; (iii) the Committee; and (iv) the members of
               the Committee in their official capacities, for conduct within the
               scope of their duties.” Both (1) the opinion's plain language and (2)
               the change made to the opinion on rehearing elucidate this holding.

Matter of Highland Cap. Mgmt., L.P., 2025 WL 841189 at 4.

       In the instant appeal before this Court, HMIT was required to seek leave of court prior to

filing their adversarial proceeding. In denying its’ Motion, the bankruptcy court held that under

the Gatekeeper Clause, as it existed at the time, that HMIT lacked standing to bring the adversarial

proceeding. (see generally ECF No. 1-1). As remanded, the bankruptcy court has not had an

opportunity to address the jurisdictional issues on appeal—in light of the remanded instruction.

Consequently, the Court sua sponte remands this appeal to the bankruptcy court to permit its

review of this issue. The Court takes no position as to whether the bankruptcy court erred in its

jurisdictional determination.




                                    (this space left intentionally blank)




MEMORANDUM OPINION AND ORDER                                                            Page 4 of 5
Case 3:23-cv-02071-E        Document 44         Filed 03/21/25   Page 5 of 5   PageID 14187



                                         III.    CONCLUSION

       Accordingly, the Court REMANDS this appeal to the bankruptcy court for consideration

   in light of the Fifth Circuit’s recent opinion.

       SO ORDERED: this 21st day of March, 2025.




                                                     Ada Brown
                                                     UNITED STATES DISTRICT JUDGE




MEMORANDUM OPINION AND ORDER                                                     Page 5 of 5
